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 4
     Attorney for: OSCAR IVAN SALAZAR-AVALOS
 5

 6
                                   UNITED STATES DISTRICT COURT
 7

 8
                                  EASTERN DISTRICT OF CALIFORNIA

 9                                                   )
     UNITED STATES OF AMERICA,                       )    Case No.: 1:17-CR-00171 DAD-BAM
10                                                   )
                         Plaintiff,                  )    STIPULATION TO CONTINUE
11           vs.                                     )    SENTENCING HEARING
                                                     )
12   OSCAR IVAN SALAZAR-AVALOS                       )    Date: February 19, 2019
                                                     )    Time: 10:00 a.m.
13
                        Defendants.                  )    Judge: Honorable Dale A. Drozd
14
                                                     )
                                                     )
15
             IT IS HEREBY STIPULATED by and between the parties hereto, and through their
16
     respective attorneys of record, that the Sentencing Hearing in the above captioned matter now set
17
     for February 19, 2019, at 10:00 a.m., be continued to April 8, 2019, at 10:00 a.m., in
18
     Department 5 before the Honorable Dale A. Drozd.
19
             The continuance is requested by counsel for Defendant, OSCAR IVAN SALAZAR-
20
     AVALOS as Attorney Daniel L. Harralson is currently in Trial before The Honorable Rosemary
21   McGuire in the Fresno Superior Court in Maria Banda Wash v. John Wash, et al, case #15 CE
22   CG 00967and has been instructed by Judge McGuire to clear his calendar so as not to interfere
23   with the ongoing. It has been difficult to schedule a time with the probation officer and an

24   interpreter to interview the Defendant. Further, Counsel is away for the holidays until January 1,

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 1   2019, and therefor, the Presentence Report cannot be prepared in time according to the present

 2   scheduling

 3
     DATED: December 21, 2018                Respectfully Submitted,
 4
                                             DANIEL L. HARRALSON ATTORNEY AT LAW
 5
                                                 /s/ Daniel Harralson
 6                                           DANIEL L. HARRALSON
                                             Attorney for Defendant
 7

 8

 9
     DATED: December 21, 2018                UNITED STATES ATTORNEYS OFFICE
10
                                                 /s/ Karen A. Escobar
11                                           KAREN A. ESCOBAR
                                             Assistant United States Attorney
12

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14
                        ---------------------------------------------------------------------
15

16

17                                                   ORDER
                                                      -----
18

19          For the reasons stated in the parties’ stipulation, the sentencing hearing scheduled for
20   February 19, 2019, at 10:00 a.m. is hereby continued to April 8, 2019 at 10:00 a.m.

21
     IT IS SO ORDERED.
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23
        Dated:    January 2, 2019
                                                               UNITED STATES DISTRICT JUDGE
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